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                    UNITED STATED DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS



UNITED STATES OF AMERICA,

                Plaintiff,             Case. No.: 1:22-CR-10005-DPW

v.

DAVID SCHOTTENSTEIN,

                Defendant.




       SENTENCING MEMORANDUM FOR DAVID SCHOTTENSTEIN
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I.     Preliminary Statement

       This memorandum is respectfully submitted on behalf of David Schottenstein, who stands

before this Court humbled, apologetic, and deeply ashamed of the criminal conduct that led him

here to be sentenced by this Court. For the reasons set forth below, which include David’s cessation

of illegal activity and disgorgement of criminal proceeds to charity well-before being approached

by the government, his mental health issues, the extraordinary and charitable efforts he has

engaged in for years, and his full acceptance of responsibility and extensive cooperation efforts

(despite the extreme adversity he faced with anxiety), we respectfully submit that incarceration

should not be handed down in this case. Instead, we ask the Court to impose home confinement

(styled as probation) along with any other condition that this Court deems appropriate, e.g.,

completion of significant community service at the Chapman Partnership (a charitable program

created by David designed to help disadvantaged adults re-integrate into society).

       In stark contrast to the horrific lapse in judgment that brought David here, he has otherwise

led an otherwise honorable and extraordinarily charitable life. David’s doctors explain this

deviation was caused by David’s debilitating need

                          . But David does not view his mental health as an excuse for his actions.

David acknowledges without hesitation that what he did was wrong:

       Breaking the law went against every ideal that I cherished and held dear, and it is
       diametrically opposite to how I had lived my life up until that point, and contrary
       to how my wife and I have raised our four children. I deeply regretted the crime
       that I committed well before I got caught, and before I was approached by the FBI
       in June 2021. I did not need to see any of the government’s evidence to take
       responsibility for what I had done. Taking responsibility immediately was the right
       thing to do. With my wife Eda’s help I began atoning for my sins, initially by
       donating the gains to charity, and vowed to never come close to doing anything
       even remotely questionable again.

Ex. B, Letter of D. Schottenstein at 1.




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       Importantly though, David accepted this reality (and responsibility) years before he was

confronted by the FBI, and he took corrective steps to right those wrongs. Specifically, David (1)

stopped insider trading on his own even though he was repeatedly exposed to material non-public

information; (2) transferred control over his financial portfolio to experienced professionals; and

(3) disgorged his personal gains from his illegal trading by donating the money to charity. David

took these steps before he knew he was under any type of investigation. In fact, the FBI was so

shocked at this uncommon turn around that they worried their investigation had been compromised

(it wasn’t) and asked David as much when they first confronted him in June 2021.

       Put simply, David knew he did wrong, and he wanted to make every effort to atone for his

crimes and never break the law again. It was because of his strong moral compass that, years later,

when approached by agents, David flew to Boston and proffered with investigators, confessing to

his crimes without the benefit of any discovery. 1 He then agreed to cooperate with the government,

telling them everything he knew, repeatedly meeting and speaking with agents, and wearing a wire

twice in an attempt to further the government’s investigation.

       Eventually, David’s lifelong anxiety began causing serious issues with his ability to

cooperate, so he redoubled his efforts, increased his therapy sessions, sought repeated spiritual

advice from his rabbi, and twice checked into a mental health institution to try and continue those

cooperation efforts. Ultimately, however, his mental health problems proved too much for his

cooperation efforts. Even though David—a dedicated family man—wanted desperately to earn a

“5K” from the government, his mental health prevented it. David attempted suicide following a

failed proactive cooperation attempt. As mentioned above, that alone did not stop him from trying

to continue cooperation and he increased therapy to do so. Unfortunately, as that cooperation


1
 Similarly, the next day he confided in the spiritual leader of his shul and admitted his wrongdoing.
Letter of S. Lipskar at 1.

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continued, his wife and little children were subjected to taunting and ridicule from their religious

community. While David tried to deal with these issues, he ultimately couldn’t, and his suicidal

ideation returned. After assessing him, multiple medical professionals concluded that his mental

health issues were too serious to ignore and that continued cooperation presented serious risks of

further suicide attempts. In the end, David had no choice, to his profound regret, other than to

terminate his cooperation. But David’s failed efforts at some active cooperation does not preclude

the Court from considering his successful cooperation efforts, which included multiple proffers,

the provision of significant electronic evidence to the government, and a successful wire recording.

Most importantly, however, it does not reduce in any way, his voluntary and early acceptance of

responsibility and disgorgement of gains, or his remarkable and extensive record of charitable

good works, or his unyielding motivation to live an honorable life defined by generosity to others.

        Accordingly, based on the factors set forth in 18 U.S.C. § 3553, we respectfully submit that

this Court should sentence David to home confinement (styled as probation) to include substantial,

hands-on community service that will continue the programs in which he is currently engaged.

Such a sentence would be just and proportional to both reflect the seriousness of Defendant’s

offense as well as the mitigating factors identified in this memo. 2



2
  Approximately 130 sentencing letters are being attached hereto as Exhibit A (with index) and
these letters, collectively, attest to David’s charity, his strong family values, and a life that, but for
this crime, has been exemplary on every level. Notably, these letters have culled down by the
defense due to their volume, with more than 130 additional letters, all documenting the profound
impact that David has had on the writers’ lives, not being included. To the extent that this Court
wishes to see these additional letters, the defense will make them available. In addition to the
letters, the defense asks this Court to consider the following additional materials: the letters of
David (Exhibit B) and his wife (Exhibit C) to this Court, a video of David, his family and others
highlighting his life, good works and remorse (Exhibit D, “Video”), reports concerning David’s
mental health from Dr. Larry Brooks (Exhibit E), Eitan Turk, LCSW (Exhibit F), Dr. Sydney B.
Miller, Ph.D. (Exhibit G), and Dr. Sarah Lowe, M.D. of the Amen Clinic (Exhibit H), a mitigation
statement from Mark Silver, MA, MSW, LCSW, PsyD, JD (Exhibit I); a video submitted by Rabbi
Yitzi Hurwitz, who suffers from ALS, concerning the support that David has had for his family


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II.    David’s Personal Background and Character

       A. David’s early life taught him the values of hard-work, charity, and family, but at the
          same time, his childhood was marred
                                            .

       The second oldest of five children, David, was raised in a religious household in Columbus,

Ohio. PSR ¶ 87. Although David’s extended family, who owned fashion retailers such as DSW and

American Eagle, amongst many other businesses, drove luxury cars and vacationed in Aspen, his

fiscally austere father, Thomas, drove his children to vacations in Pittsburgh and Ontario in a

Chrysler Concorde with duct-taped sidemirrors.

       Growing up, David shared a bedroom with his older brother, Aryeh, and was expected to

work without the benefit of the trust funds afforded to his extended family. Letter of A.

Schottenstein at 1; Letter of T. Schottenstein at 1 (“While I came from a privileged background I

took great care to raise my children believing that we were more of a middle class family … I

believe this is why our kids grew up hardworking and driven with no sense of entitlement. “).

David’s mother, Lea Schottenstein, was born and raised in Morocco.

       These humble beginnings created a generous, hardworking individual who cared deeply

for his family. He helped his siblings with homework and spoiled them with funds he earned selling

candies. His sister describes:

       He was always a fun, caring, sensitive brother who thought of me and my siblings
       endlessly. His love was more than a brother and he always took on the responsibility
       to ensure our happiness more like a parent. As a child I was afraid to sleep in my
       room alone. I’d sit on the hallway steps hoping one of my siblings would let me
       sleep on their bunk bed or floor. David always read me a book and always let me
       sleep in his room. He helped with homework, babysat, and would treat us to ice
       cream and gifts with his own hard earned money. As a kid I always witnessed
       David’s generosity and looked up to him …




(Exhibit J); a sentencing submission from Rabbi Bryski of the Aleph Institute (Exhibit K); and an
exhibit summarizing sentencing statistics in recent insider trading cases (Exhibit L).

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away from her for a night. The two of them were young parents—having their first child at the age

of 20—and are now proudly raising four children: Ari (18), Nina (15), Aliyah (12), and Reeva (8).

       Those four children are David’s number one priority, and he is a very hands-on father who

tries his best to be there for his children no matter what. David, Eda, and the children eat dinner

together as a family every night, and David does everything in his power to avoid business travel.

As Eda explains, “if there was ever a game or a practical recital—not even the recital or school

event—[David] didn’t miss it.” Id. at 2:45-2:55. Indeed, everyone who interacts with David and

his family or spends time at their house comments on what an exceptionally loving, committed,

and doting father David is. Letter of B. Kievman (camp director for daughter’s camp) at 1 (“I saw

firsthand what an outstanding father David is and how connected he is to his children.”); Letter of

C. Kamenev (business partner) at 2 (“He’s made that clear, and all who know him know his entire

life is focused on his family, his beautiful wife, and four young children”); Letter of C. Lerman

(David’s niece) at 1 (describing how at dinner each night, David “goes around the table and has

everyone speak about their day.”); Letter of A. Ramos (early employee of David) at 2 (“David’s

always been a family man, through and through. He loved his kids and wife like no one else I

knew.”); Letter of S. Dukes at 1-2 (one thing that stands out “during every visit is David’s complete

dedication and devotion to his children . . . . [W]hen David’s daughter wanted to start her own

baking company, David took her to visit different bakeries to see how they were run . . . .”).

Most appropriately, David’s commitment to family is best exemplified by the words of his children.

Ari, David’s 18-year old son, wrote a poem for this Court where he said his father “was my

shoulder to cry,” that “if he weren’t there, I wouldn’t know what to do,” and that his father’s “love

and warmth are what keep me . . . in good health.” Letter of A. Schottenstein at 1.

       David prioritizes building individual relationships with his kids as well. Ex. D, Video at

3:20-3:22. This is especially important as he helps his children


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                              , which, to David’s profound regret, have only been exacerbated by

his actions and resulting community treatment of his family




            See Aliyah Journal at 1.

       And as Aliyah (12) further tells the Court in a letter attached hereto,




                                             See Letter of Aliyah Schottenstein at 1-2.

       Unsurprisingly given these types of reactions, the sobering reality of now being a convicted

felon has only intensified David’s commitment to be a loving and present father and dedicated

community member. Ex. K, Aleph Institute Report at 9, quoting David’s wife, Eda (“[David] is

forever changed. He is not the same man … the numerous ways that David has stepped up his

efforts in the wake of his misconduct – spiritually, in his community, and as a father and husband

– attest to this enormous personal growth and reawakening.”).




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       Although his family has always come first, David has also been successful in business as

a serial entrepreneur, starting and selling multiple companies. David loves creating affordable

consumer products that make people happy. And even though he never finished high school, he’s

good at it. This Court does not need David’s detailed resume about his business success (as set

forth fully in the PSR at ¶¶ 124-30), but a few details are worth highlighting to describe his work

ethic, commitment to employees, and his previous efforts to ensure he’s always complied with the

law.

       When David was 20, he founded Astor & Black Custom Clothiers, which provided custom

made clothes at affordable prices. When he sold the company six years later, it had annual revenues

of over $25 million and a 120-person sales team. PSR ¶ 129. This was a tremendous success, and

one he did without any financial support from his family.

       Cris D’Annunzio, one of the company’s first employees, describes how he immediately

recognized David’s “humility.” David “ran the company, but he also sold clothes himself. He had

no pretense about him - he led by example.” Letter of C. D’Annunzio at 1. Likewise, Amanda

Gore, one of the Company’s first employees, describes how when she first met David in 2006, he

was accompanied by his son Ari, a toddler at the time. Amanda writes that she:

       … appreciated David as he gave me, a minimally educated woman and single mom,
       an opportunity at his company to work part-time in office support. . . . Over the
       years, David invested in me and my career. David taught me things that any higher
       learning institute could never teach. David also invested in my children and took
       great interest in their well-being and success …

Letter of A. Gore at 1.

       David is very proud to have had succeeded without the help of family money or shortcuts.

His approach to historically always doing the “right thing” is best exemplified by the fact that

David, against the advice of his accountants, willingly paid significant back sales taxes. Brett

Kaufman, a close friend and relative explains in his letter that although Astor and Black only had


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offices in Ohio, sales agents traveled to other states, thereby potentially subjecting the company to

sales tax:

        The accountants’ recommendation was to start collecting and paying sales tax on a
        go-forward basis . . . and not to worry about any taxes from the years prior because
        they felt David had a strong argument to make that he did not have “nexus” and did
        not need to be collecting sales tax.

        David would have none of it. He had them tally up the total tax amount he would
        have owed had he been collecting the sales tax and paying it, and that amount was
        over $1.5 million dollars, a fortune for David, who at the time wasn’t yet very
        successful. David then went to each and every state they had sold clothing in, self-
        reported and worked out payment plans with each state, and paid back the
        uncollected sales tax.

Letter of B. Kaufman at 1-2.

        This is the kind of strong moral compass that led him, years later, to voluntarily disgorge

his gains from his insider trading long before being caught by the authorities. See below at Part

III.C And that led him, as a teenager, to proactively repair a car windshield he broke playing

football without being “caught.” See Letter of T. Schottenstein at 2.

        His professional success has not stopped at Astor & Black. Since then, David has founded,

led, and sold several companies in a variety of industries, such as clothing accessories, legal billing

software, and eyewear. See PSR ¶¶ 124-30. Even as he rededicates himself to the community in

light of his conviction, he continues to start new business ventures providing gainful employment

to others, such as companies creating consumer products like vegan chocolates. See id. ¶ 124.

        Notably, David never forgot about his family as he focused on his business career. When

David found himself on a business trip near his younger sister who was away at school, he “rented

a car and drove 2 hours after a full day of meetings to pick me up and take me to dinner.” Letter

of C. Marinovsky at 2 (describing how, when she was homesick and lonely, David spent time with

her. “This is David in a nutshell.”). And, when his 14-year old sister was in a car crash (David was

18), he dropped everything and rushed to her side like a parent. Letter of M. Schottenstein-


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Engelson at 2 (“As soon as hearing the news, David dropped everything,” and drove to her in

Pennsylvania.).

       C. Although successful in business, David’s determination to be charitable, even to people
          he does not know, defines David’s worldview and approach to life.

       As the more than 100 letters to this Court show, this entire sentencing memorandum could

be filled with stories of David’s generosity, charity and good works, most of which were done

anonymously and well-before David knew he would be sentenced by this Court (or even that he

was under investigation). Put simply, these acts were done for no reason other than to help those

in need.

       As a businessman, David made sure his employees were well-provided for and equipped

to succeed. When he ran Astor and Black, David, unprompted, provided an employee and his

family with plane tickets to return to Pennsylvania for a funeral after disaster struck. Letter of C.

D’Annunzio at 1. David also sacrificed his own remuneration to make sure others had a chance to

earn a living. Letter of A. Ramos at 2 (describing how David gave his own commissions away and

writing that “[q]uite frankly, I felt as if I was taking advantage of [David] because he was letting

me get paid $10,000 on a commission that was all his work. Yet, he always said, ‘No, it’s your

commission and now, your client.’ This happened on multiple occasions.”). And then, when Mr.

Ramos left the company after a year to start his own business, David gave Mr. Ramos “his

blessing” and “assisted . . . with the connections and gave [him] the direction to do so.” Id. David

also relished providing jobs to those in need with little regard for their qualifications. Letter of B.

Rapoport at 1 (describing how, after the 2008 crash, David hired him “with no questions asked”

because he needed a job, and then proceeded to introduce him to vendors and manufacturers as he

started his “own business in the exact same line of work”).

       Amanda Gore writes that David “took great interest” in her family’s wellbeing and helped

her get back on her feet after she was robbed twice. He assisted her with a down payment on a

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home, and sponsored her son’s baseball team. Letter of A. Gore at 1-2. Ms. Gore’s summary of her

experience working with David echoes what is in so many letters:

       I cannot express how much I admire David; he was never an entitled man. He has
       always worked hard for everything, which directly reflects his amazing parents and
       family. David was always in the trenches with the employees doing the work, not
       just barking orders. His work ethic and extreme level of empathy for not only his
       community but for all he meets are unwavering and selfless. These qualities have
       motivated me to be better and to believe in myself; for this, I will always be grateful.

Id. at 2 (also writing that “David always tried to hire people from disadvantaged backgrounds,

such as minorities and single moms.”); Letter of C. Kamanev at 1 (describing how as a single

mom going through a brutal divorce, David hired her to run his new company to “uplift and

support a woman” in a male-dominated industry)

       It was not just the employees at Astor & Black who have benefited from David’s largess.

For each of his business ventures, his partners and employees have shared stories of his work ethic,

honesty, and gratitude of how he took a chance on them, or other ways he’s changed their lives for

the better. See, e.g. Letter of P. Hess at 1 (describing David as an “honest, generous, hardworking

and talented young man.”); Letter of R. Franklin at 1 (describing how David’s “honesty, trust,

faith, work ethic, and creativity” single-handedly brought him back into Judaism).

       David’s charitable nature extends far beyond his family and business worlds; he’s an

incredible and indefatigable philanthropist in ways both big and small, for friends, family,

community members, and strangers alike. The many letters to the Court share countless stories of

David’s altruism, and defense counsel’s analysis of records in preparation for this submission show

that David and his wife have donated to at least 650 distinct organization between 2014 and 2022.

       Some of this philanthropy comes in the form one might expect for someone with his wealth.

For instance, David and his wife Eda donated funds to purchase a building for a Jewish and

immigrant community center in Montreal, Canada run by Eda’s parents, who raised a family of

four girls on meager means. Letter of I. Sirota at 1. The community center in Montreal focuses on

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“help[ing] vulnerable members of the neighboring community, both Jewish and non-Jewish.”

Letter of I. Sirota at 1. And David has supported that mission for years in ways well beyond just

donating money. Id. at 2; Letter of S. Antal at 1-2. David helped design the Center’s programming,

and he pushed for the Center to serve all religious affiliations. At his insistence, the Center

welcomes all vulnerable populations with a panoply of supportive programming. Letter of S. Antal

at 2 (describing how the Center now serves, due to David’s support, Jews and non-Jews alike,

including “hospitalized children and their families, seniors living in residences or isolated in their

own homes who welcome friendly visits, a meal, or even access to entertainment.”). 10

       Still other donations have not been made to gain appreciation, recognition, or tax

deductions, but simply to help those in need. Shaina Schochet, an accountant who works with

David and has a first-hand view of the nature scope and scale of his charity, puts it best:

       . . . I have seen hundreds of organizations and individual people that he has helped
       personally and via his family’s charitable foundation, on an almost daily basis.
       Whenever an email comes in, or someone personally encounters Mr. Schottenstein
       with a request for his support, he responds with kindness and warmth, and gives
       with open arms. He tries to respond in literally minutes, and never makes them feel
       “less than” for coming to him. I have yet to see him reject a request for help, and
       am impressed with the way that he treats those in need with compassion, almost as
       though they are doing him a favor by allowing him to help. In my line of work, I
       have encountered many individuals who give for the public acknowledgment or tax
       deductions, and … Mr. Schottenstein is not one of those people.

       David’s unselfish, active, and down-to-earth approach to charity—focused on going above

and beyond—is exemplified over and over in the letters attached in Exhibit A. As examples:



10
   David’s obsession with charity and good works goes back to his childhood. When he was in
kindergarten, he would give away his food to those less fortunate and demand that the kids who
could not speak English were included in their activities. Letter of L. Schottenstein at 1. When he
was in third grade he wrote a letter to his teacher that lost her husband and was heartbroken,
which she kept on her person for 30-years, until she herself passed away. Letter of Lea
Schottenstein at 1-2, 4. When he was 16, he volunteered to visit the newly-independent Ukraine
to teach young and impoverished children about their Jewish roots. Letter of Rabbi C. Danzinger
at 1. These charitable good works are not new, and they certainly were not done to impress this
Court at sentencing.

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•   Shlomo Gestetner, the Dean of the Mayanot Institute in Jerusalem, explained that after
    making a large capital contribution, David and Eda named the Institute’s administrative
    offices after two Israelis who had been murdered in a terrorist attack, and not after
    themselves. Letter of S. Gestetner at 1.

•   Anna Opotovskaya, a Russian immigrant to Canada, describes how David “sponsored food
    baskets weekly for elderly people, single parents, families, and other needy people” in
    Montreal, and delivered the baskets himself. David also arranged for a job for Anna. Letter
    of A. Opotovskaya at 1.

•   Menachem Traxler, the director of a food pantry explained that “David’s involvement is
    not only financial. He rolls up his sleeves and actually gets involved, helping to improve
    the organization and its efficiency.” Letter of M. Traxler at 1.

•   Hindy Light, a synagogue director in Annapolis, Maryland, describes how David helped
    pay for their mortgage during the 2008 financial crisis, and “all of this was done privately
    without any fanfare, dedication, etc. It was done completely anonymously.” Letter of H.
    Light at 1.

•   Rabbi Yitzi Hurwitz suffers from late-stage ALS and has been left bed-ridden, unable to
    talk or move any of his muscles. In a touching video attached hereto as Exhibit J, he uses
    his eyes to compose a text-to-speech message from his hospital bed that describes how
    David took care of his entire family after he became ill with ALS. 11 See also Letter of
    Rabbi Y. Hurwitz at 1.

•   Myriam Schottenstein-Engelson, runs a non-profit in New York, wrote about how she sent
    a message to David saying a “young man can’t afford his psychiatry bills” and “needs help
    getting a business off the ground.” David responded with only one question: “‘How much?”
    Letter of M. Schottenstein-Engelson at 1.

•   Dovid Lebovic, a young student, described how David was there for him when his sister,
    Hadassah, passed away from cancer just 10 days after her Bat Mitzvah. Letter of D.
    Lebovic at 1.

•   Pinchas Antal, a pianist from Montreal, discusses how David bought him a piano and paid
    for private music lessons when his own family could not afford it. Pinchas went on to obtain
    a music degree from McGill, where he was a soloist with the McGill symphony orchestra.
    Letter of P. Antal at 1.

•   Rabbi Chaim Danzinger of Rostov, Russia, spoke of how David donated funds to help
    Russian Jews he had never met, including 93-year-old Lev Brailovsky. David ensured “he
    got daily hot meals and could live his final years in dignity.” Letter of Rabbi C. Danzinger
    at 2.




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     •   Jeffrey Greenblatt, a lawyer, wrote about how David not only visits and provides food to
         Greenblatt’s elderly mother who lives in his apartment building, but also how David sends
         matzoh each Passover and provides Chanukah toys to Jewish servicemembers all over the
         world in Mr. Greenblatt’s late father’s memory. Letter of J. Greenblatt at 1-2.

     •   Sholom Rand, a community member, is the father of three young children and recently
         widowed after his wife passed away due to COVID complications. He writes about how
         after his wife passed away, David saw him at an event and then invited his children on an
         outing to with David’s own, and the gesture “touched me in a way I don’t think I can
         describe. My daughter was very close to her mother, and I had not seen her smile in a long
         time.” Letter of S. Rand at 1.

         As this Court can see from these few examples (of which there are hundreds more), David’s

acts of kindness go well beyond “big ticket” support for organizations, and more to simple and

humane acts of goodwill, such as ensuring friends and neighbors are invited into welcoming homes

on Jewish holidays, 12 finding employment (or directly employing) those in need, 13 to even

insisting on picking up guests from the airport himself when inviting them to his home. 14 And most

recently, he has been instrumental in helping evacuate people from war torn Ukraine and

Afghanistan. Letter of Rabbi Y. Charytan at 1 (describing how David led fundraising efforts to

help rescue “vulnerable Afghan women judges, lawyers, and prosecutors”); Letter of A. Kivritsky

at 1 (“When the war in Ukraine started on February 24, it was I who needed David's help.”). This

isn’t the first time he’s risen to the occasion after a terrible tragedy. See Letter of Rabbi Ramy and

S. Banin at 1-2 (describing how David helped organize a fundraising campaign after devasting

flood). Nor is David’s assistance limited to friends and family – he’s helped strangers without


12
  Letter of B. Rubashkin at 2 (David “makes sure that my son is invited as well. If he goes out of
town, he makes calls to find him a place for Shabbos meals, even when he is out of the country
and in a different time zone . . .. ” ).
13
  Letter of L. Russell at 1 (“After I got laid off at the towing yard David told me ‘Lenny don’t
worry, I got you, we will find you something even better’. And he did. He got me an interview
with a company one of his friends owns and I have been happily working there for quite some time
now.”).
14
   Letter of A. Marinovsky at 2 (“Most people take a Cab or Uber these days, but David always
insisted on picking us up from the airport.”).

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hesitation. See Letter of R. Kirschenbaum at 2 (she hesitated to reach out for help because she

assumed David wouldn’t help given that “he had no connection to our local communal

organization” and concluding “[b]oy, was I wrong.”).

        David also leads by example, through taking care of, and honoring, the sick and elderly.

For example, when his Uncle “Toby,” who had no immediate family, fell ill at the end of his life,

David took him in. See Letter of L. Schottenstein at 2 (describing care of David’s grandmother and

uncle at the end of their lives); Letter of M. Kirschenbaum at 2-3 (same); Letter of S. Caplin at 1-

2 (describing how David ensured Uncle Toby was comfortable in life and honored in death).

        Similarly, when David found out that the daughter of a close friend was sick, he did

everything he could to research the best doctors for her. See Letter of Z. Lebovic at 2. In at least

one instance, his efforts saved someone’s life. Letter of C. Azimov at 1 (describing how David

helped put her in touch with an oncologist who identified an experimental treatment that saved her

husband). And in another instance, when a friend’s daughter was tragically killed in a car accident,

David took the unprecedented step of naming his own daughter after her despite his community’s

superstition against it. See letter of H. Swerdlov at 1 (“I have 11 siblings, and not ONE has named

their child after mine.”).

        When neighbors get sick, David is the first one at the hospital to try to encourage them to

get better. Letter of E. Paster at 2 (“David came to the hospital every day and delivered home-

cooked meals to [my mother when she was sick].”). And for years David has taken responsibility

for his 95-year-old neighbor Sylvia Greenblatt, an Auschwitz survivor. Ms. Greenblatt, a widow,

lives alone in her apartment. For years, David has checked on her in daily, brought her hot meals,

invited her into his home, and spent time with her when no one else would. As Sylvia’s son, Jeffrey,

puts it: David has “become nothing less than a surrogate son to her.” See Letter of J. Greenblatt at

1; see Ex. D, Video at 17:48-18:55; Letter of S. Greenblatt (characterizing David as her “angel”).


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        Most recently, his attention in helping others has been focused on his own mother-in-law,

who                                                                                       . See Letter

of A. Sirota at 1. Not only has David researched, located, and coordinated the “best” possible

doctors and hospitals for her, but he shows up, constantly, to give her the strength to keep fighting.

Id. at 1 (“



                                              ”).

        Overall, these letters describe literally hundreds of acts of kindness, big and small, many

of which would never have been known but for these proceedings, and many of which will never

be known because of the intentional anonymity built into his gifts. See Letter of Rabbi Z. Lipskar

at 1-2 (describing David’s contributions to the Shul’s communal funds and its far-reaching effects);

Letter of Z. Skoblo at 1 (writing how David “helped a random family avoid eviction and he added

a little extra to the pile so they wouldn’t fall behind again. He did this without anyone knowing.

When he found out I knew about this, he reached out to me and pleaded that I keep it silent and

that no one should know about it. He … wanted that family to have their dignity.”). 15

        It would be easy to point to David’s financial success, and perhaps his family name, as the

reason for his generosity. But he’s not had the benefit of his family’s money, he’s giving his own

hard earned wealth, and even then, his generosity is notable even in his own circles. His cousin,

acknowledging the generosity of the entire Schottenstein family, remarks that David has always


15
  David’s obsession with charity and good works goes back to his childhood. When he was in
kindergarten, he would give away his food to those less fortunate and demand that the kids who
could not speak English were included in their activities. Letter of L. Schottenstein at 1. When he
was in third grade he wrote a letter to his teacher that lost her husband and was heartbroken,
which she kept on her person for 30-years, until she herself passed away. Letter of Lea
Schottenstein at 1-2, 4. When he was 16, he volunteered to visit the newly-independent Ukraine
to teach young and impoverished children about their Jewish roots. Letter of Rabbi C. Danzinger
at 1. These charitable good works are not new, and they certainly were not done to impress this
Court at sentencing.

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been the “most generous and expansive of” all the cousins. Letter of B. Rubashkin at 1. Similarly,

a longtime Jewish community leader at Yale—who has worked for years with public-minded

students—remarks that David still stands out as unique, as “David Schottenstein is not just

‘charitable’. He is obsessed with the needs of others, in most cases anonymously.” Letter of Rabbi

S. Hecht at 2. That is because he believes that the point of money is to donate it and help better the

lives of others. Letter of C. Marinosvky at 1 (“When I called to thank him he told me never to

hesitate to ask him for any help, and this is why God gives us money, to help people in need.”);

see also Letter of G. St. Pierre at 1 (when he asked David why he flew economy instead of first,

David’s replied “George do you have any idea how much more I can give because I fly

economy?”).

       Finally, beyond sharing his time, labor, and money, he has shared stories of his personal

trauma to help other victims recover from similar abuse. In 2015, David became involved with

The Jewish Community Watch, a non-profit dedicated to protecting children from sexual abuse.

David then publicly shared some of his story concerning his sexual abuse—not for revenge—but

to protect future victims. 16 David, not without compassion, even forgave his own abuser after he,

many years later, confessed to his crime. Similarly, David has connected with people suffering

from mental health issues, sharing his own struggles and encouraging them to get help. Letter of

A. Vinokur at 1 (

                                                  ); Letter of L. Dyblenko at 1 (

                                          ).




16
  Jewish Community Watch, Entrepreneur David Schottenstein “Shares his personal experience
with JCW”, YouTube (Aug. 19, 2015), at 9:40 - 9:58

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wrong, he initially attempted to (wrongly) justify his trading to himself by viewing it as a “grey

area.” David’s wife, Eda, however, discovered that David was speaking covertly on the phone and

confronted him, telling him that if he did not feel that he could talk on the phone about something,

he should not be doing it. See Letter of D. Schottenstein at 1; Ex. D, Video at 0:53-1:05. David

recognized that Eda was right, and that he was deluding himself into thinking he was somehow in

a “grey area.” As a result, David donated all his gains from the illegal trading to charity to try and

“right” the wrong he caused. PSR ¶104. Again, this occurred well-before David knew he was under

investigation.

       B. FBI Approach and Cooperation

       In June 2021, more than two years after David voluntarily stopped any illegal trading

activity, the FBI confronted David at his home in Miami.

       David immediately recognized that he had to take responsibility for his crimes. See Ex. B,

Letter of D. Schottenstein at 1. He quickly retained counsel and, within days, flew to Boston and

proffered to the government for a full day. He confessed to his crime. He did so without the benefit

of any discovery, and with no cooperation agreement in place. And he discussed sensitive topics,

such as where he learned his information (he misappropriated it from family members) and even

the trading activities of his own brother and close friends.

       After that successful first proffer, David started a cooperation effort that lasted nearly a

year and a half, and which included formal proffers, numerous calls with investigators, and

proactive cooperation—providing his phone to agents and wearing a wire. Specifically:

       •   David spoke to agents (both on the telephone and in person meetings) investigating
           the case on over a hundred occasions, answering every one of their questions and
           providing them with significant information. David also formally proffered twice
           with the government, once in June 2021 and then again in November 2021. Both

took the gains he received from the offense and donated that money to charity prior to the
government’s investigation”); Ex. B, Letter of D. Schottenstein at 1. David is not asking to forgo
forfeiture even though he has already given away these gains.

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      proffer sessions were nearly full-day sessions. David answered the investigators'
      eve1y question.

•     David unde1took proactive cooperation work. The criminal complaint filed against
      Mr. B01tnovsky and Mr. Shapiro details an undercover recorded meeting that David
      had with Mr. Bortnovsky on August 27, 2021 while David was wearing a wire. See
      United States v. Bortnovsky, Dkt. 4- l 'iJ'jJ 160-163, 21-MJ-02826-MBB (D. Mass. Dec.
      6, 2021)). During this recorded conversation, Mr. Bo1tnovsky made many devastating
      admissions, including the fact that he traded on stocks such as Rite Aid and Aphria
      based on infonnation provided by David's cousin. See id. 'ii 161. Notably, David even
      purchased his own ''undercover" clothes for this meeting at the direction ofthe
      agents, who used the clothes to outfit him with a recording device.

•     Months later, in November 2021, investigators, at the direction offederal prosecutors,
      pressured David to wear a concealed recording device in a meeting with his friend
      and community member, Ryan Shapiro. David had, ofcourse, always been up front
      with investigators about his mental health struggles and about the extreme difficul
      he had in coo eratin                      members due to




•     Despite this, the government continued to use David as a cooperator, and made his
      cooperation public in December 2021, upon the arrest ofB01tnovsky and Shapiro.
      David and his family then suffered prolonged ridicule and shaming within his
      community. This ridicule and shaming lasted for the entirety ofDavid's public
      cooperation (a time-period ofnearly a year), and it fwther heavily exacerbated
      David's ah-eady perilous mental health conditions. Adding to the stress, after his
      anest, Bortnovsky suddenly and uncharacteristically appeared at David's synagogue
      when David was there to pray, and then proceeded to sit ve1y close and stare at him in
      an obvious attempt at physical intimidation.

    • Nonetheless, David did not withdraw from cooperation, but instead sought out
      therapy from multiple medical professionals in an attem t to    are himselfto testify
      at an trial. He consulted with s iritual advisors




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       As noted, David’s public guilty plea and cooperation, devasted him and his family’s life,

imposing significant collateral consequences. 21 David, (but worse) his family were ostracized for

“turning” on one of his own. His children were disinvited from events and parties and shunned at

school. Ex. D, Video at 8:03.

                                                              . See Letter of Aliyah Schottenstein

at 1. At the synagogue, congregants would speak out publicly against David. See Letter of D.

Remington at 1 (“The way some in his community has treated him for admitting his guilt and being

open and honest has been painful to watch. . . . He puts on a brave face even though he’s been

asked not to attend synagogue on specific days because another party doesn’t want him there.”);

Letter of Rabbi M. Katz at 1 (“He was ostracized by many members of the community because of

his offenses and I know this has been very difficult for him.”; Letter of D. Ainsworth at 2

(“[B]ecause of the communal nature of this case, how it played out, or who’s involved, its

consequences have been harsh, swift, and sustained. Watching what David and his family have

endured for the past year, I wouldn’t wish that on anyone, let alone someone who is so actively

involved in kindness and charity.”). 22




21
  Although the Complaint did not refer to David by name, it outed him as a cooperator as only he
could have provided the information in the Complaint. This outing was reinforced by the criminal
Information, which corroborated that he was the one who provided the information to the
government. Everyone immediately identified David as the cooperator.
22
  There were numerous articles in the press, including the Wall Street Journal, regarding David’s
guilty plea, which reinforced the shame that David already felt from his conduct. See, e.g., Mark
Williams, Schottenstein family member to plead guilty to insider trading that netted him
$635,000, The Columbus Dispatch (Jan. 10, 2022)
https://www.dispatch.com/story/business/2022/01/10/schottenstein-family-members-others-
conspire-insider-trading-case/9156812002/; Dave Michaels, Member of Prominent Schottenstein
Family to Plead Guilty in Insider-Trading Case, The Wall Street Journal (Jan. 7, 2022)
https://www.wsj.com/articles/member-of-prominent-schottenstein-family-to-plead-guilty-in-
insider-trading-case-11641586892

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his loving family. As David heartbreakingly described in a recent speech he gave at a business

conference, as a father, he would have done anything possible to avoid having his children beg for

mercy on his behalf:

       Obviously not going to ask your children to write letters for you, because they've
       been through enough and you don't want to put them through anything else. Yet my
       18-year old son, learning at a Yeshiva, decided to sit down and write his own letter.
       Imagine how that feels. To think that you did something that has now put your
       beautiful, precious child in a position where he is now begging for mercy on
       behalf of his father. I wouldn't wish that on anyone. It's gut-wrenching and the
       shame I felt from that alone is hard to live with. . . . 24

       C. Post-FBI Approach Conduct

       In addition to his cooperation, the way David has handled himself since the FBI approached

him in June 2021 demonstrates his unequivocal acceptance of responsibility.

       As noted, within days of the FBI’s approach, David proffered with the government and

signed a cooperation agreement, knowing that, the government could use his proffer statements

against him, in the event he ever withdrew from cooperation (as they have). David then pled guilty

to an Information before this Court without the benefit of any discovery, and he took full and

complete responsibility for his conduct. David also agreed, as part of his plea, to pay forfeiture

even though he had already donated his gains to charity. Lastly, David has been exemplary on pre-

trial release; one Miami pretrial services officer even deeming him a “superstar.”

       Numerous letters reflect the sincerity of his remorsefulness. Letter of Ari Schottenstein at

2 (“I know my father did something wrong (we all know it, and he speaks to us about it all the

time, which I know is already so embarrassing and painful for him)”); Letter of A. Peterson

(Chapman) at 1 (“He described having to face his adolescent son with the truth of his wrongdoing,

and his determination to leave a legacy of service and good stewardship with all that he has



24
 Yehoshua Werde, David Schottenstein speaks openly and candidly about a terrible decision he
made., YouTube (Jan. 17, 2023), https://www.youtube.com/watch?v=1tcLKkQtnyk. at 11:15.

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available to him.”). Remarkably, the guilty plea has resulted in redoubled efforts at making things

right, serving the community, and making sure others do not make the same mistakes as him. Letter

of C. Kamenev at 1 (“David shared openly with other company members that he had committed a

significant act of misconduct . . . Not only did he own and disclose his wrongdoing, but he seemed

to dedicate his work and his life to making a difference.”); Letter of E. Zimmerman at 1 (“He

openly takes full responsibility and now is constantly talking to everyone, myself included, about”

remaining on the straight and narrow “no matter what”); Letter of E. Deshe at 2 (describing how

David speaks with young entrepreneurs and hammers home the “point that if you ever have even

a question about something being 100% correct, don’t go near it.”).

       One of the ways in which he is giving back, and using the notoriety that has come from his

misdeed, is by speaking publicly about his wrongdoing–in speeches and interviews available on

the internet–about his crime and why others should never make the same decisions he did. As

examples, in January 2023, David spoke at a large, public event for young Jewish entrepreneurs,

a video which has since been uploaded to YouTube. 25 Hundreds were in attendance. At this event,

David spoke at length about his crime, and he cautioned others against making similar missteps.

The organizer described the speech as “the most emotional and powerful talk we have ever hosted,”

and stated that “it has become the talk of town and created a platform for dialogue on such a crucial

topic.” Menachem Light echoed this reaction, writing that “the fact that someone like him was

willing to … own his mistake and warn others of the dangers of such practices was a powerful




25
  Yehoshua Werde, David Schottenstein speaks openly and candidly about a terrible decision he
made., YouTube (Jan. 17, 2023), https://www.youtube.com/watch?v=1tcLKkQtnyk; ;
Collive.com, David Schottenstein to Deliver Keynote Speech at Business Conference (Jan. 11,
2023)https://collive.com/david-schottenstein-to-deliver-keynote-speech-at-business-conference/



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statement that will be remembered for years to come.” Shortly after this event, David gave a speech

on similar topics to another professional group in Miami, the Solomon Leadership Group.

       David was then invited to speak to Yale law and business students about his experience.

Jack Boger, a Yale student and Marine Corps veteran, immediately wrote to David, thanking him

for sharing his story, which inspired him to “continue finding ways to share [his] own experiences

with the goal of helping others, especially [his] fellow veterans, find peace and healing.” Yale

Shabtai Letters at 1. Sarah, another Yale student, wrote a similar letter, stating that David’s talk

was “incredibly moving,” that she appreciated how he warned others against “delud[ing]”

themselves and to “realize that there is no ‘grey’ area-there is only black and white.” Id. at 2.

David’s speeches demonstrate that he’s learned from his mistakes and is now out there trying to

ensure no one else repeats them. 26

       But what David is perhaps most proud of since the FBI approached him is the program that

he has created with the Chapman Partnership. See Ex. D, Video at 10:39-15:11. Chapman is a

Miami-based non-profit that “[p]rovide[s] comprehensive programs and services in collaboration

with others that empower our residents with dignity and respect to overcome homelessness, and

achieve and maintain long-term self-sufficiency.” 27 David, for approximately the past year, has

volunteered for Chapman and its residents for countless hours each week, by giving educational

lectures, finding folks jobs, or helping them negotiate (and even cosign) leases for a new apartment.

As described in his letter to this Court, as well as in additional letters and David’s Video, David

has not just performed traditional volunteer work at Chapman. Instead, applying his



26
  After sentencing, David is scheduled to speak at Klurman High School, Ohio State University,
Oholei Torah Talmudical Academy, and at event for the Young Jewish Professionals of Miami,
amongst other scheduled speeches.
27
  Chapman.com, “Our Mission” https://chapmanpartnership.org/about/ (last accessed March 11,
2023).

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“entrepreneurial skills and dedicated work ethic,” David has created a mentorship program to train

individuals in basic life skills such as job interviewing, resume building and finances, and he even

started an initiative to help Chapman Partners directly employ the homeless.

       David’s impact on Chapman is well-documented in his own letter to this Court, the Video,

and in the letters of those directly impacted by his work at Chapman. Arlene Peterson, Chapman’s

director of philanthropy, describes how David helped one client “with public speaking, introduced

him to someone who offered him a good paying job, and developed a plan for his future that

includes creating a program to help mothers experiencing homelessness.” Peterson explains how

David has worked with Chapman leadership to “develop a Social Enterprise model that can be

integrated into our Workforce Trades program. His expertise and business experience has been

invaluable and he has been incredibly generous with his time and guidance.” Last, Peterson notes

that, “it has been a true pleasure to see David’s enthusiasm and desire to support the needs of our

mission. He is humble, curious, thoughtful and engaged for the love of community. These core

values and so many more shine through in every interaction, and I feel blessed to have met him.”

Letter of A. Peterson at 2.

       Lenny Russell, a former inmate and convicted felon who met David at Chapman, describes

the positive impact David has had on his life. Mr. Russell chronicles in his letter how David helped

him interview for a job, taught him about finances, and imparted other skills that will allow him to

“live a productive and meaningful life.” Letter of L. Russell at 1. Mr. Russell conveys how David

did not just donate money to Chapman, he physically contributed to the shelter by creating the

coursework, participating in the mentorship program, and even driving Mr. Russell to different

rental apartments to make sure “they were in good locations and to make sure I would be

comfortable.” Id. When Mr. Russell recently got laid off, David secured a new job for him and put

down the deposit for his apartment. Letter of L. Russell at 1-2. Finally, Pastor Eric Robinson, the


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“Spiritual Life and Wellness Coordinator” at Chapman, describes the intense, hands-on work that

David and his family have undertaken over the past year to start a “12-week male mentorship

program that addresses life skills, addiction, and financial literacy.” Letter of E. Robinson at 1.

Pastor Eric notes that “[t]o date, David has done extraordinary work with the mentees; his impact

is tangible. He truly gets involved with the mentees, helping them find jobs and apartments, obtain

medical records, etc.--whatever it may be that they need to transition out of homelessness. He takes

initiative, provides the mentees with his cell phone number, texts them, helps them, and encourages

them at all hours of the day.” Id.

       In sum, David’s post-offense conduct is further evidence that he will never re-offend, and

it further shows that he can provide far more benefit to society out of prison then behind bars.

IV.    The § 3553(a) Factors Support a Sentence of Home Confinement Coupled with
       Community Service

       Federal sentencing demands that every convicted person be treated as an individual and

“every case as a unique study in the human failings that sometimes mitigate, sometimes magnify,

the crime and punishment to ensue.” Gall v. United States, 552 U.S. 38, 52 (2007). Though the

Court must consult the Sentencing Guidelines, the goal of sentencing is to obtain a sentence that

is “sufficient, but not greater than necessary” based on an “individualized assessment” of the “facts

presented.” Id. at 50; see also 18 U.S.C § 3553. Here, due to all the factors in this case, including

the Guidelines, David’s history and characteristics, and the principles of specific and general

deterrence, the defense respectfully asks for a sentence of home confinement coupled with

significant community service.

       A. The Sentencing Guidelines Calculation

       The starting point for determining a proper Sentencing Guideline is the statutory index

contained in Appendix A of the Guidelines. Here, David pled guilty to 18 U.S.C. § 1349—




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Appendix A dictates that this statute is governed by § 2B1.1 of the Guidelines. 28 Section 2B1.1

has a base offense level of 7 and provides for enhancements based on the total pecuniary “loss”

inflicted by a defendant. David’s trading here caused no pecuniary loss. Moreover, David accepted

responsibility for his actions. For these reasons, Pretrial Services’ draft PSR concluded that no

enhancement applied, and that after deducting two levels for David’s acceptance of responsibility,

his total offense level was 5. See PSR at p. 35.

       The government objected to Pretrial’s initial conclusion. See id. at 33-35. It claimed a cross-

reference within § 2B1.1—which provides that if “the conduct set forth in the count of conviction

establishes an offense specifically covered by another guideline,” the court should “apply that other

guideline”—controls See § 2B1.1(c)(3). Pursuant to that cross-reference, the government

contended that the Court must therefore apply the guideline for Insider Trading, i.e., § 2B1.4 –

which has a base offense level of 8 and includes an enhancement for any gain resulting from the

offense. After reviewing the government’s objection, Pretrial (wrongly) changed its position. PSR

¶ 68. As a result, David’s total offense level increased from 5 to 23, due to an 18-level enhancement

because of the approximately $4.7 million in gains from the combined trading of David, Kris

Bortnovsky and Ryan Shapiro. 29 As set forth below, that was a mistake.

       The cross-reference in § 2B1.1(c)(3), which is Pretrial’s (new and) sole basis for applying

§ 2B1.4 in this case, provides that if: “(B) the defendant was convicted under a statute proscribing


28
  For conspiracy offenses, the Sentencing Guidelines provide that the Court should apply the
guidelines for the underlying substantive offense, in this case 18 U.S.C. § 1348. See § 2X1.1.
29
  Although it did not impact the guidelines range, the final PSR incorrectly calculates the
combined gains as being approximately $9.1 million by wrongly conflating the total proceeds
from the trading with the actual trading profits. Cf. PSR ¶ 69 (concluding that trading proceeds
equaled profits of $9,167,000) with Dkt. No. 1 ¶ 2, SEC v. Schottenstein, 22-CV-10023 (D. Mass.
Jan. 6, 2022) (calculating the net gains as being approximately $4,700,000 from the trading of
David ($634,893), Bortnovsky ($3,950,000) and Shapiro ($121,000). This significant error
appears to effectively double the gain that even the government attributes to the entire
conspiracy. The defense objects to this error, which was not in the draft PSR.

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. . . fraudulent statements . . . and (C) the conduct set forth in the count of conviction establishes

an offense specifically covered by another guideline . . . apply that other guideline.” Id. (emphasis

added). Although David was convicted under a statute proscribing fraudulent statements, the

“conduct set forth in the count of conviction” does not establish “an offense specifically covered

by another guideline.” Id.

       This is because the statutory provision “specifically covered” by § 2B1.4 is “Insider

Trading” under Rule 10b-5, which the section delineates as convictions under “15 U.S.C. § 78j

and 17 C.F.R. § 240.10b-5.” Id. § 2B1.4. Application Note 2 to § 2B1.4 further makes clear that

2B1.4 applies only “to certain violations of Rule 10b-5 that are commonly referred to as ‘insider

trading,’” and specifically does not reference convictions for “securities and commodities fraud”

under 18 U.S.C. § 1348, i.e., the statute at issue here. Instead, as mentioned, Appendix A expressly

links 18 U.S.C. § 1348 to § 2B1.1.

       The government’s position cannot be reconciled with the language of Appendix A. If

convictions for “securities fraud” under 18 U.S.C. § 1348 were in actuality traditional “insider

trading” convictions, the Commission’s choice in Appendix A to link convictions under 18 U.S.C.

§ 1348 to § 2B1.1 would be negated. Put differently, the Commission could very easily have

indicated in Appendix A that 18 U.S.C. § 1348 is governed by § 2B1.4 (in addition to § 2B1.1),

but they did not. Cf. United States v. Cromwell, Dkt. 378 at 37-40, 20-cr-10271-DPW (Mar.7,

2023) (at sentencing in November 2022, this Court rejected a proposed “public official”

enhancement for an elected tribe member under § 2C1.1(a)(1), ruling that “[i]f an entity, a

government entity like the Sentencing Commission wants to do it, they know how to do it. This

language is clear in this area that it requires them to apply. They haven’t drawn the tribe into this

directly. They’ve given a generality, a generality generated I think by where they were at the time




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that they entered that guideline. Maybe they’ll tidy it up”). Dkt. 378. at 37-40. 30 Accordingly,

because it is undeniable that David’s offense of conviction–securities fraud–is not “specifically

covered” by § 2B1.4, and is specifically covered by § 2B1.1, the cross-reference in § 2B1.1(c)(3)

cannot apply.

       Of course, if securities fraud under 18 U.S.C. § 1348 were the same as insider trading under

Rule 10b-5, thereby making the two statutes interchangeable for charging purposes, there could be

an argument that insider trading convictions under 18 U.S.C. § 1348 are “specifically covered” by

§ 2B1.4, regardless of what is referenced in § 2B1.4 or Appendix A. But the two criminal statutes

are very different. Convictions for insider trading under 18 U.S.C. § 1348 require fewer elements

and are easier to obtain than convictions under Rule 10b-5 securities laws. Most importantly, Rule

10b-5 insider trading convictions generally require a “personal benefit” obtained by the “tipper”

when providing MNPI to a “tippee,” while such a benefit is not required under 18 U.S.C. § 1348.

See, e.g., United States v. Blaszczak, 56 F.4th 230, 248 (2d Cir. 2022) (Walker, J., concurring)

(explaining that a conviction under 18 § U.S.C. 1348 does not require that a tipper receive a

“personal benefit” in exchange for the disclosure, which differs from Rule 10(b)(5)). 31

       Accordingly, a person can be guilty of securities fraud under 18 U.S.C. § 1348 for

misappropriation of MNPI, while innocent of similar conduct alleged to be in violation of Rule

10b-5. 32 See also Blaszczak, 56 F.4th at 248 (Walker, J. concurring) (explaining, with concern,


30
  18 U.S.C. §1348 was enacted into law on January 3, 2012, and the 2B1.4 guidelines have been
amended twice since then (in November 2012 and November 2015). See Historical Commentary
of § 2B1.4. At no point was a reference to 18 U.S.C. § 1348 included in the § 2B1.4 Guideline.
31
  For a general discussion on the differences between securities fraud under 18 § U.S.C. 1348 and
insider trading under 10b-5, see Lustbader, Note: Title 18 Insider Trading, 130 Yale L. J. 1828
(2021), available at: https://www.yalelawjournal.org/note/title-18-insider-trading.
32
  In the very case cited by the government in its Guidelines objections, United States v. Blaszczak,
17-CR-357 (S.D.N.Y.), this occurred. Blaszczak was convicted under § 1348 but acquitted of the
10b-5 count. Further, the government’s attempts to rely on Blaszczak to support its argument that


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that a criminal conviction under § 1348 “requires fewer elements to convict” than to “penalize

someone civilly (under 10b-5) for the same conduct”). This alone—the mismatch of elements

between Rule 10b5 and §1348—makes clear that the conduct of conviction to which David pled

guilty does not establish an offense specifically covered by § 2B1.4. Cf. United States v. Taylor,

142 S. Ct. 2015, 2025 (2022) (employing categorical approach, Court rejected attempts to enhance

sentence for prior crime of violence (Hobbs Act robbery) where the elements of a Hobbs Act

robbery were too broad and did not unequivocally establish that a crime of violence had been

committed).

       The government further contends that § 2B1.4 applies because the § 2B1.4 commentary

suggests that other conduct involving the misuse of inside information may also be analyzed under

that Guideline. See Application Note 2 to § 2B1.4. 33 The government misses the mark for multiple

reasons. First, the § 2B1.4 commentary refers only to certain “other offenses” that involve the

“misuse of inside information,” and then directly references 7 U.S.C. § 13(e), which is a statute

specifically prohibiting “insider trading” by name and which is listed in Appendix A as being

linked to 2B1.4. See Application Note 2; 7 U.S.C. § 13(e) (establishes felony for “insider trading”

amongst members of commodities exchanges). This reference strongly suggests that the

Commission was not referring to any conduct that may involve the misappropriation of inside

information, but rather only to other specific offenses referenced in Appendix A that explicitly

prohibit the “misuse of inside information,” which does not apply to 18 U.S.C. § 1348.



2B1.4 applies here should be rejected. Blazsczak was vacated by the Supreme Court and the
government has conceded error on remand. Moreover, as the sentencing transcript in Blazsczak
makes clear, the court provided no rationale for its conclusion that the “2B1.1(c)(3)” cross-
reference “warrants the application of 2B1.4,” instead dispensing with the issue in less than one
page of transcript.
33
   Given that this Application note uses the word “may” instead of “shall” this Court has broad
discretion in determining whether this Note should even be considered.

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       Second, as this Court is aware, application notes are contained in the “commentary” to the

Sentencing Guidelines. As one Court recently ruled, where the Guidelines’ commentary “expands

the definition” of a certain sentencing enhancement, the Court must “accord the commentary no

weight.” See United States v. Banks, 55 F.4th 246, 257 (3d Cir. 2022) (rejecting the government’s

attempt to use “intended loss” as a proxy for “loss” given that the reference to “intended loss” is

included only in the interpretive commentary, which does not have the force of law, and not in the

actual 2B1.1 guideline); see also United States v. McKinney, 2022 WL 17547467, *7 (E.D. Mich.

Sept. 9, 2022) (following Banks). The defense urges this Court to follow the well-reasoned opinion

in Banks and reject reliance on Application Note 2, which expands the number of statutes governed

by § 2B1.4 beyond that of the text of the guideline itself. 34



34
   The government appears to contend that if this Court applies § 2B1.1 and forgoes the cross-
reference to § 2B1.4, a gain enhancement would still be appropriate because some unknown and
unidentifiable market participants did suffer pecuniary harm from David’s offense (although in an
indeterminate amount), and therefore enhancement of the conspiracy’s base offense by the
conspiracy’s gain is proper. See Application Note 3(B) to § 2B1.1. First, this argument has been
waived by the government because the plea agreement requires the government to take the position
that David’s offense was covered by § 2B1.4, and did not state that there was any type of market
loss subject to § 2B1.1’s Application Note 3(B). Second, the use of “gain” as a proxy for “loss” is
referenced only in the Guidelines’ commentary. Under Banks, as described, this commentary
improperly expands the definition of loss beyond that included in the Guideline, and therefore,
should not be considered by this Court. Third, Application Note 3(B) allows for the use of gain as
a proxy for loss “only if there is a loss but it reasonably cannot be determined,” with loss defined
as “reasonably foreseeable pecuniary harm.” Here, there was no pecuniary loss to anyone. The
government has made no showing here that: 1) David influenced the market in any of the stocks
(large public companies) in which he traded, 2) that any traders would not have entered into trades
if they had known that David was trading on inside information or 3) how the lack of possession
of inside information by other people demonstrates that they themselves lost money. See PSR ¶63.
Moreover, the government has not provided any evidence of actual loss to the defense, despite the
defense’s requests. For this reason too, there cannot be a gain enhancement. Finally, the defense
objects, in part, to paragraph 63 of the final PSR, which explains that although no individual
investors who suffered losses have been “identified by the government,” nonetheless, the “victims
of the offense are the stock investors who were trading during the time periods of the insider trading
scheme committed by the defendant and his co-conspirators.” Notably, the draft PSR explained
that there were “no identifiable victims of this offense” and the government provided no evidence
to the contrary.


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       Finally, in the event that this Court applies the § 2B1.4 Guidelines, the PSR’s proposed

gain enhancement of 18 levels is four levels too high, as it improperly attributes to David the

unforeseeable gains of Kris Bortnovsky. In that regard, David himself gained $634,893 from his

offense (an amount he disgorged before being caught); the vast majority of the gains that lead to

the 18-level enhancement are attributable to Mr. Bortnovsky, who gained nearly $4 million trading

on behalf of himself, his fund, and his friends. See Dkt. No. 1 ¶ 2, SEC v. Schottenstein, 22-CV-

10023 (D. Mass. Jan. 6, 2022). The PSR nonetheless attributes Mr. Bortnovsky’s gains to David

through a “Background” application note in the § 2B1.4 commentary, which provides that courts

may account for the “total increase in value realized through trading in securities by the defendant

and persons acting in concert with the defendant or to whom the defendant provided inside

information, is employed instead of the victims' losses.” But, as noted above, Banks limits

application of the Guidelines’ commentary. See 55 F.4th at 246. Rather, for jointly undertaken

conduct, David’s liability is limited to reasonably foreseeable conduct, and there are no allegations

in the offense conduct that David was told the size of Bortnovsky’s trades. If Bortnovsky’s gains

are excluded, the applicable enhancement is 14 levels instead of 18 levels.

       B. The History and Characteristics of the Defendant

       Because of David’s overwhelming positive and productive role in society, both before and

after his criminal conduct here,

                            , this factor weighs heavily in favor of home confinement.

       As explained above and in the letters of Exhibit A, David is a supportive family member

and pillar of his community. The number of people he has helped, both those known to him and

unknown, is significant. He is a present and caring father to four kids, who also face the same

family mental health issues he faces and who will be significantly impacted by any incarceration

he may face. He is a loving husband to his wife Eda, with their 20-year wedding anniversary


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occurring this August. He is a devoted son, son-in-law, cousin, nephew, and uncle to a host of

family members with mental and physical health needs and who depend on his presence and

energy. And he is a benefactor for several communities and individuals who rely on him. This is

someone who has endeavored to help others and work hard, creating prosperity through his

business success, while at the same time ensuring that no one gets left behind.

       David’s criminal conduct was an aberration from an otherwise remarkable (and law

abiding) life that has brought much good to the world. David has no criminal history, and in fact,

has previously gone out of his way to pay back sales taxes that he may never have even owed. And

of course, in this case, he disgorged his gains from the offense long before he knew he was under

investigation. David’s criminal transgressions do not define him; rather, his good works counsel

for a sentence that permits him to continue assisting society through programs like the ones he

created at Chapman. Indeed, David’s out-of-character behavior is a factor that courts have

repeatedly stated deserves recognition when considering sentences. See, e.g., United States v.

Howe, 543 F.3d 128, 132 (3rd Cir. 2008) (defendant convicted of mail fraud and guidelines of 18-

24 months – defendant received a sentence of probation with three months home detention, in part,

because the crime was an “isolated mistake...in the context of [the defendant's] entire life”); United

States v. Garcia, 182 F.3d 1165, 1176 (10th Cir. 1999) (“The aberrance of a criminal act is an

encouraged factor for departure.”).

       We also ask that this Court, in fashioning an appropriate sentence, to consider David’s



                                                                   . Ex. D, Video at 5:58-6:04; Ex. E

Report of L. Brooks Ph.D at 5. A custodial sentence that separates him from his wife and family

will thus be particularly difficult him in light of his mental health issues. See Letter of H. Swerdlov

at 2. Incarceration would also disrupt the highly successful therapy that he is currently receiving.


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       C. The Need for Specific Deterrence

       David is never going to do something like this again. That is why he stopped the trading

on his own despite still having access to MNPI, made sure that his finances were being managed

by professionals, donated the trading gains to charity, and now gives speeches across the country

about his crime. Between that and the public ridicule of his family, his mental health breakdowns

and near suicide, the price he and his family have paid are already significant.

       Both the courts and empirical evidence recognize that individuals with this sort of

background and punishment from the community have virtually no chance of recidivism. United

States v. Germosen, 473 F. Supp. 2d 221, 227 (D. Mass. 2007), there is “a demonstrable difference

in the recidivism rates of real first offenders as compared to other defendants in Criminal History

Category I.” (citing Michael Edmund O’Neill, Abraham’s Legacy: An Empirical Assessment of

(Nearly) First-Time Offenders in the Federal System, 42 V.C. L.Rev. 291 (2001)); United States v.

Adelson, 441 F. Supp. 2d 506, 514 (S.D.N.Y. 2006) (“With his reputation ruined by his conviction,

it was extremely unlikely that he would ever involve himself in future misconduct.”); see also

United States v. Anderson, 533 F.3d 623 (8th Cir. 2008) (affirming a downward variance based on

“other ways in which the defendant had suffered atypical punishment such as the loss of his

reputation and his company, the ongoing case against him from the [SEC] and the harm visited

upon him as a result of the fact that his actions brought his wife and friend into the criminal justice

system”). In sum, there is no risk of recidivism for David, and to the extent specific deterrence is

factored in, it tips heavily in favor of a non-custodial sentence.

       D. The Need for General Deterrence

       Because of his family name and role in the community, David’s prosecution, plea, and

ostracization are well known and already serve as a strong deterrent. No one will want to go

through what David has gone through. David went from being a highly respected person to a pariah


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in the community almost overnight. He’s had to go hat-in-hand to all his employees and partners

that depend on him and explain his wrongdoing, or, in the case of his successful eyewear company,

resign altogether. He will forever be a known as a felon. United States v. Smith, 683 F.2d 1236,

1240 (9th Cir. 1982) (“The stigma of a felony conviction is permanent and pervasive.” (citation

omitted)). And, his entire family has been ridiculed, taunted and shamed because of him.

       That punishment has already been exacted on David before this Court imposes sentence,

and it serves as a strong deterrent to others considering insider trading. Coupled together with the

significant deprivation of liberty that comes with home confinement and the stigma of being a

convicted felon carry, see below at Part IV.F, no one will view David as having gotten off easy.

Everyone will know that insider trading is subject to harsh treatment that will affect one’s liberty,

family, and standing in the community, not to mention one’s mental and physical health.

       Moreover, general deterrence is more than the imprisonment that a specific defendant

receives. Rather, a non-incarceration sentence here would tell other law breakers that acceptance

of responsibility, such as the extreme measures that David undertook, will be taken into account

in fashioning an appropriate sentence. As this Court explained at a recent sentencing:

       Something else that gets around however is another aspect of general deterrence,
       saying to others similarly situated, if you do get caught, do what Mr. MacPhee did,
       do what he did in terms of immediate response, acceptance of responsibility, being
       candid, being prepared to deal directly with the government under repeated
       circumstances like this. All of those things are matters that, it seems to me, fall in
       general deterrence in a funny and kind of different way than we generally think of
       general deterrence.

U.S. v. MacPhee, 20-cr-10070-DPW (D. Mass. Nov. 16, 2022) Tr. at 15:19-16:2.

       Indeed, general deterrence also explains that a harsh sentence may promote “derision[] of

the law if the law is viewed as merely a means to dispense harsh punishment without taking into

account the real conduct and circumstances involved in sentencing.” Gall v. United States, 552

U.S. 38, 54 (2007). Here, the sentence David will receive should reflect that ceasing the illegal


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conduct on your own volition, voluntarily disgorging gains, admitting guilt early, and trying your

best to cooperate, will truly matter to a judge. Others will understand that insider trading is a

serious crime, but will also realize that accepting responsibility and making amends is critical,

balancing the twin aims of deterrence and respect for the law.

       E. Avoiding Unwarranted Sentence Disparities

       Both nationally and in the District of Massachusetts, insider trading defendants routinely

receive sentences dramatically below the Guidelines and are frequently given non-custodial

sentences.

       In this District, of the 16 defendants who were convicted of insider trading and sentenced

without any cooperation credit between 2006 to 2021, more than 50% received sentences of

imprisonment of less than six months, with many receiving non-custodial sentences of time-

served. See Exhibit L at 1. Not one insider trading defendant in this District, even after trial, has

ever received a “guidelines” sentence. Nationally, of the 20 defendants sentenced under § 2B1.4

(again without cooperation credit) who had a total offense level of 23 or 24, 55% received a

sentence of 24 months or less, and only one person received a guidelines sentence. See Exhibit L

at 2. 35 Even the worst actors—those who orchestrated an insider trading scheme, went to trial, and




35
   The defense respectfully suggests that a comparison to other cases at or around David’s
Guidelines range as calculated in the final PSR is particularly inapplicable here given that David
disgorged his gains prior to being confronted by law enforcement about his crime. Application
Note 3(e)) to Section 2B1.1 of the Guidelines provides that loss (or in this case the gain) shall be
reduced by the following: “The money returned … by the defendant or other persons acting jointly
with the defendant, to the victim before the offense was detected.” Here, in 2019 and 2020, well
before David knew that his offense had been detected by anyone, he disgorged his gains to charity.
While he would have given his gains directly to a victim, for this crime, as the PSR and government
both recognize, there are no identifiable victims. So, David did the best thing that he could, and he
donated the proceeds to charity two years before he realized he was under investigation. Thus, the
gain amount should be reduced accordingly, or, at a minimum, this Court should account for this
principle in its analysis of the 3553(a) factors at sentencing.


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obstructed justice—received sentences of a fraction of the bottom of the guidelines range. See,

e.g., U.S. v. McPhail, 14-cr-10201-DJC (D. Mass. Sep. 18, 2015) (discussed further below).

       What these statistics (and the examples below) show is that for insider trading, the

guidelines, however calculated, are inapt. Rather than show a rigid adherence to guidelines

inflated by an insider trader’s gain amount, nearly every court instead focuses entirely on the

§ 3553(a) factors. The end result is that in these types of cases courts sentence significantly below

guidelines ranges, even for defendants who accept no responsibility and have guideline ranges

well-above David’s—again reflecting the limited utility of § 2B1.4 at all offense levels. Some

examples:

        •   In U.S. v. McPhail, 14-cr-10201-DJC (D. Mass. Sep. 18, 2015), after being convicted
            at trial of insider trading, the defendant faced guidelines of 51-63 months, which
            included an obstruction enhancement. The Court found that the defendant was the
            “linchpin in the success of the scheme” and “initiated passing on the information” to
            friends and colleagues—he received 18 months’ imprisonment. 36

        •   In U.S. v. Chow, 17-cr-00667 (S.D.N.Y. Feb. 2, 2019), Chow was convicted of
            securities fraud at trial and faced guidelines of 78-97 months. Chow was sentenced to
            three months imprisonment after the court recognized he was “extraordinary in a
            positive way” in life, had his “dream [] shattered,” and had young kids he supported.
            Tr. at 82:6-83:6.

        •   In United States v. Peltz, 21-cr-154 (E.D.N.Y. Nov. 17, 2022), a defendant who pled
            guilty to insider trading using other people’s money and also engaged in tax fraud and
            lied to the IRS faced a range of 37-46 months. Peltz received five years’ probation.
            The transcript reflects that in sentencing him to probation and community service the
            court heavily considered Peltz’s incredibly difficult upbringing, much as this Court
            should consider the abuse David suffered in his childhood.

        •   In United States v. Blaszczak, 17-cr-357 (S.D.N.Y. Sept. 13, 2018), the defendant, after
            being convicted at trial of misappropriating confidential Medicare information to
36
  That the McPhail court went so far below the guidelines, even after going to trial, is in no way
aberrational for insider trading convictions. See, e.g., United States. v. Kanodia, Dkt. No. 338,15-
cr-10131-NMG, (D. Mass. Oct. 2, 2020) (given 20 months with a Guidelines of 41-51 months
after trial); United States v. Wang, Dkt. No. 358, 16-cr-10268-IT, (D. Mass. Nov. 13, 2018)
(given 6 months with a Guidelines of 63-78 months after trial); United States v. Altvater, No. 99,
17-cr-10216-DJC, (D. Mass. Jan. 22, 2019) (given 18 months with a Guidelines of 33-41 months
after trial); United States. v. Bray, Dkt. No. 89, 14-cr-10356-WGY, (D. Mass. May 10, 2016)
(given 24 months with a Guidelines of 41-51 months after trial).

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            facilitate a $7 million insider trading scheme, had guidelines of 63-78 months but was
            sentenced to a year and a day.

        •   In United States v. Catenacci, 21-cr-00759 (N.D. Ill. Aug. 3, 2022) a University of
            Chicago professor stole information about a positive drug trial, used the information
            to reap gains of $134,000, and then attempted an Alford plea. Despite this, Catenacci
            received supervised release with home confinement.

       Regardless of the Guidelines’ calculation, these cases weigh strongly in favor of a non-

custodial sentence for David, especially given his extreme and early acceptance of responsibility,

his donation of his trading gains to charity, and his cooperation with the government.

       F. Home Confinement and Alternatives to Prison as the Kinds of Sentences Available

       Modern sentencing theory and practice reflects that there is little need to imprison first-

time, non-violent offenders such as David, for crimes that have no identifiable victims, no

pecuniary losses, and for which the offender quickly and extraordinarily accepted responsibility.

Of course, if this Court determines that David has a total offense level of 5, David will fall within

Zone A of the sentencing table and this Court may sentence David to a fine only, or “a sentence of

probation (with or without a condition of community confinement or home detention).” But even

if this Court agrees with pre-trial services and arrives at a Zone D guideline, the proposed 2023

amendments to the Sentencing Guidelines strongly suggest that a non-incarceration sentence is

still appropriate. Not only do the proposed 2023 guidelines provide an additional two-level

decrease for offenders, like David, who have zero criminal history points, but proposed new

application Note 4(B), which appears to apply to non-violent first-time offenders such as David,

states that even for offenders in “Zone C or D … a departure to a sentence other than imprisonment




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[may be appropriate] [is generally appropriate].” 37 In short, the trend is away from incarceration

as a tool of punishment, not towards it.

       Because of this, David proposes a punishment of home confinement coupled with a

substantial community service element that will allow him to continue to lead the Chapman

Partnership. The deprivation of liberty that would accompany home confinement, together with a

subsequent period of supervised release, would be a meaningful punishment but would also signify

that this Court balanced the need for punishment with the significant remedial steps David has

already taken to atone for his crime. United States v. Knights, 534 U.S. 112, 119 (2001) (“Inherent

in the very nature of probation is that probationers do not enjoy the absolute liberty to which every

citizen is entitled”) (internal quotation marks omitted); see also United States v. Munoz-Nava, 524

F.3d 1137, 1149 (10th Cir. 2008) (“home confinement and supervised release substantially restrict

the liberty of a defendant”); Sullivan v. Warden, Fed. Corr. Inst. Berlin, N.H., No. 14-CV-00311-

PB, 2015 WL 1565252, at *3 (D.N.H. Apr. 8, 2015) (home confinement is a restraint on a

defendant's liberty); United States v. Zimmerman, 2012 WL 3779387, at *6 (June 19, 2012 E.

D.N.Y.) (explaining that “Imprisonment is not the only way we punish,” and that “supervised

release” also constitutes punishment.)

       In sum, home confinement and community service is a sentence that is “sufficient, but not

greater than necessary” to punish David. This is the kind of just sentence that courts previously

have imposed on individuals committed to helping others, like David. See United States v. Tomko,

562 F.3d 558, 571-72 (3rd Cir. 2009) (community service sentence in a tax case where defendant




37
  See U.S. Sent’g Commission, Proposed Amendments to the Federal Sentencing Guidelines
(Preliminary) (Jan. 12, 2023) https://www.ussc.gov/sites/default/files/pdf/amendment-
process/reader-friendly-amendments/20230112_prelim_RF.pdf at 183.

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had a long history of charitable works and ties to the community.) With this sentence, David can

continue the work of repaying his debt to society.

                                             CONCLUSION

       For all the reasons set forth above, the defense respectfully submits that a sentence of home

confinement (styled as probation), with allowances to attend synagogue, complete significant

community service at the Chapman Partnership, an innovative program created by David that is

designed to help underprivileged adults re-integrate into society, and attend medical and

psychiatric treatment, is sufficient but not greater than necessary to achieve the goals of 18 U.S.C.

§ 3553(a) regardless of the Guidelines calculation arrived at here.



 Dated: March 14, 2023                         Respectfully submitted,
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